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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :               Criminal No. 81-306 (PLF)
               v.                            :
                                             :
JOHN W. HINCKLEY, JR.                        :


 GOVERNMENT’S MOTION TO PERMIT MENTAL EXAMINATION AND REVIEW
     OF ALL RECORDS AND MATERIALS CONCERNING MR. HINCKLEY
                     BY GOVERNMENT EXPERT

       Comes now the United States of America, by and through its attorney, the United States

Attorney for the District of Columbia, and respectfully requests that the Court enter an order

permitting an examination of Mr. Hinckley by government expert, Mitchell Hugonnet, Ph.D.,

and allowing Dr. Hugonnet to bring and use audio recording devices and laptop computers and to

review all records and material maintained at the Department of Behavioral Health as well as any

additional records maintained by treatment providers in Williamsburg, Virginia, in preparation

for a hearing on the Department of Behavioral Health’s motion for unconditional release. In

support of this request the government represents the following:

       1. On August 21, 2020, the Department of Behavioral Health submitted a letter to the

Court and counsel recommending modifications to defendant’s November 16, 2018 conditional

release order and, after a period of 6 to 12 months, unconditional release from his commitment

pursuant to D.C. Code §24-501(e).

       2. The Government opposed unconditional release but consented to modifications to the

conditions of his release in the community. A proposed consent order was submitted to the Court

and on October 28, 2020, the Court granted the modified conditional release. The Court ordered

that a further status hearing be set approximately 7 months from the issuance of the Order, at
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which the government should inform the Court of its position with respect to the

recommendation for unconditional release and whether or not it intended to seek an independent

evaluation of defendant.

       3. A status hearing has been set for June 3, 2021. At this time, the government continues

to oppose Mr. Hinckley’s unconditional release and has retained Dr. Mitchell Hugonnet to

review the records and materials in this case, examine Mr. Hinckley, and conduct collateral

interviews in order to render an opinion regarding Mr. Hinckley’s present mental condition and

whether or not he would pose a danger to himself or others if unconditionally released from his

commitment.

       4. Pursuant to the practice in this case, Dr. Hugonnet will use audio recording devices

and/or laptop computers during the evaluation.

       5. Counsel for Mr. Hinckley was contacted regarding his position with respect to this

motion and has reviewed and approved the attached proposed order.

       Wherefore, the government respectfully requests that the Court sign the attached

proposed order.

                                            Respectfully submitted,

                                            CHANNING PHILLIPS
                                            Acting United States Attorney
                                            D.C. Bar No. 415-793

                                            MARGARET J. CHRISS
                                            Chief, Special Proceedings Division
                                            D.C. Bar No. 452403




                                            /s/Kacie Weston
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 6, 2021, I caused a copy of the foregoing motion to be served
on counsel of record via the Court’s Electronic Case Filing system.

                                                    __/s/ Kacie M. Weston________
                                                    KACIE M. WESTON
                                                    Assistant United States Attorney
